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Julio Mayen
15335 Castle Peak Lane
Jamul, CA 91935

JULIO MAYEN
Plaintiff,

VS.

BANK OF AMERICA, N.A.,
AND RECONTRUST
COMPANY, N.A.
Defendants,

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FEB O & 2014

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

Case No. 13-cv-2080-MMA (BGS)

PLAINTIFF’S NOTICE OF MOTION
AND MOTION FOR
IRECONSIDERATION PER FRCP 59(E)
AND LOCAL RULE 7.1i

IDEMAND FOR JURY TRIAL

Date: March 31, 2014

Time: 2:30 p.m.

Place: Courtroom 3A

Hon. Judge: Michael M. Anello

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TO THE HONORABLE COURT OF RECORD, DEFENDANT'S AND
THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE: that on March 31, 2014, or soon thereafter as the
matter may be heard in Courtroom 3A of the United States District Court,
Southern District of California, located at 221 West Broadway, San Diego,
California 92101, Hon. Michael M. Anello, presiding, Plaintiff, Julio Mayen, will
and hereby moves the court for an order to reconsider its order granting

Defendant’s Motion to Dismiss with prejudice under the following grounds

delineated in Plaintiff's Memorandum of Points And Authorities in support of

this motion concurrently filed herewith.

WHEREFORE, Plaintiff moves the court to grant Plaintiff?’s Motion for

Reconsideration.

Date: February 4, 2014 Respectfully Submitted,

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CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the above and foregoing
document has been served on February 4, 2014, to Defendant’s Counsel of
record Elizabeth C. Farrell at the following address: Severson & Werson, 19100

Von Karman Avenue, Suite 700, Irvine, CA 92612

Dated: February 4, 2014 Ve

